






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN








NO. 03-05-00537-CR






Brandon Burns Brewer, Appellant


v.


The State of Texas, Appellee







FROM THE DISTRICT COURT OF LLANO COUNTY, 33RD JUDICIAL DISTRICT

NO. CR5574, HONORABLE GUILFORD L. JONES III, JUDGE PRESIDING





M E M O R A N D U M   O P I N I O N




	Appellant Brandon Burns Brewer was convicted of murdering his mother, Nancy
Brewer. (1)  Tex. Pen. Code Ann. § 19.02 (West 2003).  In his sole issue on appeal, Brandon contends
that the evidence is factually insufficient to sustain his conviction, specifically referring to the jury's
failure to find that he acted in self-defense.  We will affirm the judgment of the district court.


BACKGROUND


	The jury heard evidence that on the morning of May 21, 2004, the Llano County
Sheriff's Office received information that a residence was on fire.  Glenn Williams, an investigator
with the sheriff's office, arrived at the scene.  After the fire was extinguished, the body of Nancy
Brewer was located in the burned residence.  Williams testified that charcoal briquettes were found
around the body.  An autopsy performed on the body established that Ms. Brewer died of a gunshot
wound prior to the fire.  The fire was determined to have been the result of arson. 

	Amy Overstreet, an investigator with the sheriff's office, assisted Williams with the
criminal investigation.  Overstreet first interviewed Gary Brewer, Ms. Brewer's husband and
Brandon's father, and she testified that Mr. Brewer suspected that Brandon was involved with Ms.
Brewer's murder.  Overstreet then interviewed Brandon.  After questioning Brandon for
approximately 90 minutes, she took a written statement from him.

	In the statement, Brandon admitted shooting his mother but stated that he did so in
self-defense.  According to the statement, Brandon and his mother had been arguing for several
months about her disapproval of his girlfriend.  Brandon stated that the night before the incident he
and his mother "talked and understood each other" and that they "fell asleep together on the bed
holding hands."  In Brandon's words, they were "mom and son again" and she was going to "stand
by my side and let me date my girlfriend again."  Brandon stated that the next morning he left school
early and, on his way home, had called his mother and asked her to go to the house to get his
"athletic papers."  Brandon also stated that he had decided to meet his mother at home and surprise
her with flowers.  When she arrived, Brandon stated that she was "furious" and immediately began
yelling at him.  Brandon was unsure why she was upset but stated that he believed "it was because
I was able to come home early and she didn't know about it, [because] I was exempt from my last
final."  Brandon went on to explain that:

While she was yelling she walked to me and shoved me against the wall and I hit my
head.  She went to the sink area of the kitchen and grabbed at least a fork and two
knives.  When I looked up she threw a fork at me but missed.  So I jumped up and
ran [through] her bathroom and slammed her door and ran [through] her bedroom
and closed that door.  I jumped over the couch in the living room and ran to Randall's
room.  I ran into that room and grabbed the [shotgun].  I knew the [shotgun] was in
there because he told me to put it in there the day before.  The gun was unloaded at
the time.  I ran back into the living room and grabbed a shell out of the pouch and
loaded the gun.  I could hear my mom coming and I was hoping once she saw the gun
she would calm down and listen to what I have to say.  I was in the living room at the
table beside the glass door.  She opened her bedroom door and I saw that she had a
knife in each hand and they were steak knives that you eat with.  She ran at me so I
ran [through] the kitchen to [the] dryer and washer.  That is by the door that she came
in.  As I ran [through] there I cocked the gun.  I stopped by the dryer and washer, and
I had the stock part of the gun under my arm.  She continued to follow me and she
followed me all the way to where she was between me and the door.  At this point
she only had one knife in one hand, her right hand.  She pointed it at me and said "I
am not her son anymore" and "I am not a part of the family anymore."  Then she
walked slowly to me and raised the knife, and as soon as she started coming down
with the knife I pulled the trigger.  I heard the gun go off.  I saw [the bullet] hit her
in the head, she [fell] by the door and that's when I blacked out.


	Brandon was charged with one count of murder and one count of arson.  Brandon was
16 at the time of the indictment and, because of the seriousness of the alleged offenses, the juvenile
court waived its jurisdiction and ordered the case transferred to district court for criminal
proceedings.  The jury found him guilty of both arson and murder.  Punishment was assessed at 30
years' confinement for arson and 60 years' confinement for murder.  This appeal followed.


DISCUSSION


	When there is a challenge to the factual sufficiency of the evidence to sustain a
criminal conviction, the question presented is whether a rational trier of fact could have found the
essential elements of the offense beyond a reasonable doubt.  Zuniga v. State, 144 S.W.3d 477, 484
(Tex. Crim. App. 2004). When the issue of self-defense is submitted to the jury, we must also
determine whether a rational trier of fact could have found against the defendant on that issue, that
is, found beyond a reasonable doubt that the defendant's conduct was not justified.  Zuliani v. State,
97 S.W.3d 589, 594 (Tex. Crim. App. 2003); Saxton v. State, 804 S.W.2d 910, 914 (Tex. Crim. App.
1991).

	In a factual sufficiency review, all the evidence is considered equally, including the
testimony of defense witnesses and the existence of alternative hypotheses.  Orona v. State, 836
S.W.2d 319, 321 (Tex. App.--Austin 1992, no pet.).  Although due deference must be accorded the
fact-finder's determinations, particularly those concerning the weight and credibility of the evidence,
the reviewing court may disagree with the result in order to prevent a manifest injustice.  Johnson
v. State, 23 S.W.3d 1, 9 (Tex. Crim. App. 2000).  The evidence will be deemed factually insufficient
to sustain the conviction if the proof of guilt is too weak or the contrary evidence is too strong to
support a finding of guilt beyond a reasonable doubt.  Zuniga, 144 S.W.3d at 484-85; see Johnson,
23 S.W.3d at 11.

	As a general rule, a person is justified in using deadly force in self-defense if he
reasonably believes that deadly force is immediately necessary to protect himself against the other's
use or attempted use of unlawful deadly force, and if a reasonable person in his situation would not
have retreated. Tex. Pen. Code Ann. § 9.32 (West 2003).  A person has the right to defend himself
from apparent danger to the same extent as he would if the danger were real.  Hamel v. State, 916
S.W.2d 491, 493 (Tex. Crim. App. 1996). 

	Whether Brandon reasonably believed that the use of deadly force was immediately
necessary under the circumstances was a fact issue for the jury.  See Saxton v. State, 804 S.W.2d 910,
913-14 (Tex. Crim. App. 1991).  Brandon did not testify and, other than his written statement to the
police, there is no evidence in the record that his mother attacked him.  There is some evidence that
Ms. Brewer suffered from emotional problems.  Her co-worker, Maria Avila, testified that Ms.
Brewer had previously taken antidepressant medication and that she suffered from "mood swings." 
Avila also testified that Ms. Brewer had told her about fights with her husband that would sometimes
turn "violent."  Avila also testified that Ms. Brewer did not approve of her son's relationship with
his girlfriend because she had a criminal record and experimented with drugs.  Avila elaborated that
one time, after receiving a threatening voice-mail from his girlfriend, Ms. Brewer grabbed Brandon's
shirt and  "slapped the [expletive] out of him."  Avila further testified that this incident caused
Brandon to contemplate running away from home. However, other witnesses testified that Ms.
Brewer appeared to be a good mother and part of a "good family" that got along well with each
other.

	There was also evidence in the record tending to disprove Brandon's version of the
incident.  For example, there was evidence that local investigators, DPS investigators, and a Texas
Ranger carefully sifted through the debris in the residence yet never found any knives around the
body.  The jury also heard testimony that Brandon was "acting weird" after learning of his mother's
death and that he did not show "any type of emotion in crying or excitement."  The State also
introduced evidence that Brandon borrowed a 22 caliber weapon from a friend the morning of the
murder and then left school early and, upon his return to school, lied to school officials and friends
about where he had been and why he smelled of gasoline.  Florence Hedge, a friend of the family,
testified that she was with Ms. Brewer the night before she died and that Ms. Brewer was "nervous,
shaking, and real scared" of Brandon.

	Brandon's girlfriend Lynn Arney testified that Ms. Brewer was a "really caring"
woman and that Brandon and his mother "seemed to get along very well."  Arney also testified that
she and Ms. Brewer "always got along" but admitted on cross-examination that Ms. Brewer did not
want her seeing Brandon because Ms. Brewer believed Arney was influencing Brandon "in a
negative way."  Arney claimed that she had a "really great relationship" with Ms. Brewer and that
she treated her "like a daughter."  According to Arney's testimony, she and Ms. Brewer mutually
agreed that she and Brandon should stop dating.  Arney testified that this was hard for Brandon to
accept and that he threatened to kill himself.

	Arney also testified that, on the day of the murder, Brandon visited her at her house
and told her that they "can be together now and that she was out of the way."  Arney testified that
she "had no idea what he meant by that" and that she was "rather frightened."  Arney further testified
that immediately after he told her that, they took a bath together, and the day after his mother died,
Brandon proposed marriage to her.

	Considering all of the evidence in a neutral light, we hold that the State's evidence
of guilt was not so weak and the evidence Brandon cites as justification for his conduct was not so
strong as to preclude a rational jury from finding beyond a reasonable doubt that appellant's use of
deadly force was not justified.  We overrule Brandon's sole issue on appeal.


CONCLUSION 

	Having overruled Brandon's only issue on appeal, we affirm the judgment of the
district court.



					                                                                                    

					Bob Pemberton, Justice

Before Chief Justice Law, Justices Puryear and Pemberton

Affirmed

Filed:   June 30, 2006

Do Not Publish

1.   For the sake of clarity, throughout the opinion we will refer to appellant as Brandon.

